                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


CHARLES L. BURTON, JR.,                      )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )      No. 2:19-cv-00242-RAH
                                             )
JEFFERSON S. DUNN, Commissioner,             )
Alabama Department of Corrections,           )
in his official capacity,                    )
                                             )
      Defendant.                             )


                       DEFENDANT’S STATUS REPORT

      Comes now Jefferson S. Dunn, Commission of the Alabama Department of

Corrections, Defendant in the above styled cause, and in accordance with this

Court’s order of April 1, 2021 (Doc. 83), submits the following status report:

      1.     On April 1, this Court ordered Defendant to include in its status report

“information regarding the ADOC’s progress in drafting a protocol for nitrogen

hypoxia executions and whether the ADOC anticipates that an inmate’s chosen

spiritual advisor will be included or excluded from the execution chamber during

any such execution.” (Id. at 2).

      2.     The ADOC is nearing completion of the initial physical build for the

nitrogen hypoxia system and its safety measures. Once the build is completed, a



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safety expert will make a site visit to evaluate the system and look for any points of

concern that need to be addressed.

      3.     At this time, because the system has not yet been evaluated, the ADOC

has not produced a nitrogen hypoxia execution protocol. The protocol will not be

written until the ADOC is satisfied that its system is ready.

      4.     The ADOC has not made a final decision as to whether a spiritual

advisor can be safely accommodated in the execution chamber during a hypoxia

execution.


                                       Respectfully submitted,

                                       Steve Marshall
                                       Alabama Attorney General

                                       /s/ Lauren A. Simpson
                                       Lauren A. Simpson
                                       Alabama Assistant Attorney General
                                       Counsel for Defendant




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                        CERTIFICATE OF SERVICE

      I certify that on June 8, 2021, I served a copy of the foregoing upon counsel

for the Plaintiff by filing the same via the Court’s CM/ECF system, which shall

cause the same to be electronically transmitted to: Anand Agneshwar, Spencer J.

Hahn, John Anthony Palombi, Matt D. Schulz, Paige Sharpe, James A. Sonne,

Anna Thompson, and Zeba A. Huq.


                                      Respectfully submitted,

                                      Steve Marshall
                                      Alabama Attorney General

                                      /s/ Lauren A. Simpson
                                      Lauren A. Simpson
                                      Alabama Assistant Attorney General
                                      Counsel for Defendant


OF COUNSEL:

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